         Case 9:20-cv-00116-DWM Document 17 Filed 06/07/21 Page 1 of 1




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION


DEBORAH D.M.,                                          CV 20-116-M-DWM

                     Plaintiff,
                                                           JUDGMENT
  vs.

ANDREW SAUL, COMMISSIONER
OF SOCIAL SECURITY,

                     Defendant.


        Jury Verdict. This action came before the Court for a trial by jury. The
 issues have been tried and the jury has rendered its verdict.

  X    Decision by Court. This action came before the Court for bench trial,
 hearing, or determination on the record. A decision has been rendered.

       IT IS ORDERED AND ADJUDGED that the Commissioner's decision is
 REVERSED and this matter is REMANDED pursuant to sentence four of 42
 U.S.C. § 405(g) for further proceedings consistent with the Court's Opinion and
 Order.

        Dated this 7th day of June, 2021.

                                  TYLER P. GILMAN, CLERK

                                  By: /s/ Nicole Stephens
                                  Nicole Stephens, Deputy Clerk
